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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


LESTER DOBBEY, on behalf of himself                   )
and others similarly situated, Plaintiffs,            )      Case No. 13-cv-1068
                                                      )
               v.                                     )      Honorable Judge
                                                      )      Robert M. Dow
WILLIAM WEILDING, et al.,                             )
Defendants.



          PLAINTIFFS’ UNOPPOSED MOTION TO INTERVENE AND
  SUBSTITUTE MR. ABDUL MALIK MUHAMMAD AS CLASS REPRESENTATVE

       Plaintiffs by and through their counsel, respectfully move this Court pursuant to Federal

Rule of Civil Procedure 24(b) for an order substituting Mr. Abdul Malik Mohammad as the Class

Representative and withdrawing Mr. Lester Dobbey as Class Representative. In support of their

motion, Plaintiffs state as follows:

       1.      Mr. Lester Dobbey filed this class action on behalf of himself and other similarly

situated individuals to seek redress of numerous unconstitutional conditions at Stateville

Correctional Center (“Stateville”) and for damages arising from his alleged injuries caused by

those conditions. Dkt. 1.

       2.      Mr. Dobbey also alleged his own individual damages claims related to the same

unconstitutional conditions. Id.

       3.      On January 23, 2014, the Court certified an injunctive class action pursuant to

Federal Rule of Civil Procedure 26. Dkt. 37. The Class is defined as “all individual incarcerated

at Stateville Correctional Center any time since January 1, 2011, and all individuals who will be

housed at Stateville Correctional Center in the future.” Id. at 2. The Class definition excludes
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individuals houses at other Illinois Department of Corrections facilities. Id. See also Dkt. 41

(Amended Order Grating Class Certification).

         4.    Mr. Dobbey has served as Class Representative since the Court certified the

Class.

         5.    Mr. Dobbey was subsequently transferred to another IDOC correctional facility.

         6.    Accordingly, Mr. Dobbey is no longer a Class Member because he is not

“incarcerated at Stateville Correctional Center” and he is incarcerated at another IDOC facility.

Mr. Dobbey’s individual damages claims are not impacted by his no longer being a Class

Member or serving as a Class Representative.

         7.    Mr. Abdul Malik Muhammad is a Class Member in that he presently resides at

Stateville and has done so since 2011. Mr. Muhammad has no plans to request a transfer from

Stateville.

         8.    Mr. Muhammad’s claims are typical of those of Class Members. Dkt. 41.

         9.    Mr. Muhammad has agreed to serve as a Class Representative and has been

apprised of his rights and responsibilities to serve in that capacity. In doing so, Mr. Muhammad

understands that he represents the interest of all of the Class Members. He has also been

informed that Class Counsel will keep him apprised of all major events in the case and that he

has not been promised any special treatment above that which may be awarded other Class

Members. Plaintiff will seek an additional compensation award for his participation as Class

Representative, but the Court will issue such an award and no guarantee exists that Mr.

Muhammad will receive one.

         10.   Mr. Muhammad will also fairly and adequately represent Class Members in that

he has agreed to do so understanding his rights and responsibilities as a Class Representative.



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        11.      Accordingly, Plaintiffs seek permissive intervention by unnamed plaintiff Mr.

Abul Malik Muhammad pursuant to Rule 23(d)(1)(B)(iii) and Rule 24(b). Randall v. Rolls-Royce

Corp., 637 F.3d 818, 826 (7th Cir. 2011) (“[S] substitution (via permissive intervention by an

unnamed plaintiff, who if intervention is allowed becomes the named plaintiff and thus the class

representative) is possible.”) (citing Rule 23(d)(1)(B)(iii) and 24(b); Champ v. Siegel Trading

Co., 55 F.3d 269, 272–74 (7th Cir. 1995); Birmingham Steel Corp. v. TVA, 353 F.3d 1331, 1339

(11th Cir. 2003); McKowan Lowe & Co. v. Jasmine, Ltd., 295 F.3d 380, 383, 389 (3d Cir.

2002)). See also Whitlock v. Johnson, 153 F.3d 380, 384 (7th Cir.1998) ( “The district court

certified a class based on Umar's complaint, and subsequent proceedings undermined Umar’s

individual claim and revealed that Umar was not an appropriate class representative. The district

court acted properly, then, in allowing the class claims to continue (with the substitution of

appropriate class representatives) despite the failure of the named plaintiff’s individual claim on

the merits.”).

        12.      Courts commonly grant motions to intervene to substitute an unnamed class

representative where the named plaintiff’s claims are moot or is no longer able to represent the

class and the class’s claim remain viable. See, e.g., U.S. Parole Commission v. Geraghty, 445

U.S. 388, 416, 100 S. Ct. 1202, 63 L. Ed. 2d 479, 29 Fed. R. Serv. 2d 20 (1980) (Powell, J.,

dissenting) (“If the named plaintiff’s own claim becomes moot after certification, the court can

re-examine his ability to represent the interests of class members. Should it be found wanting,

the court may seek a substitute representative.”); Robichaud v. Speedy PC Software, No. C 12

04730 LB, 2013 WL 818503, *8 (N.D. Cal. 2013) (“In class actions, where a named Plaintiff’s

individual claims fail or become moot for a reason that does not affect the viability of the class

claims, courts regularly allow or order the plaintiffs’ counsel to substitute a new representative



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plaintiff.”); Rayl v. Moores, No. 09–cv–00554–JMS–TAB, 2010 WL 4386784, *5 (S.D. Ind.

2010) (“Where … later evidence establishes that a previously appointed class representative is

ineligible to represent the class, the Court should ordinarily give class counsel the opportunity to

locate a new, suitable, class representative.”); In re Initial Public Offering Securities Litigation,

Fed. Sec. L. Rep. (CCH) P 94730, Master File No. 21 MC 92(SAS), 2008 WL 2050781, *2 (S.D.

N.Y. 2008) (“‘[T]he procedure favored by the Second Circuit’ requires that ‘where the named

plaintiff is no longer an adequate representative of the class … rather than decertifying the

instant class on the ground that the named plaintiffs are no longer adequate representatives of the

class, [the court should] afford[ ] plaintiffs' counsel a reasonable period of time for the

substitution or intervention of a new class representative.’” (citations omitted)); Memisovski v.

Garner, No. 92 C 1982, 2002 WL 31687665, at *1 (N.D. Ill. 2002) (granting plaintiffs’ motion

to withdraw and substitute new class representatives in class action involving children in Illinois

with Medicaid’s access to health care).

       13.     Defendants do not oppose Plaintiffs’ motion to substitute Mr. Abdul Malik

Muhammad as Class Representative.

       14.     Accordingly, Plaintiffs respectfully move this Court for an order granting their

motion to intervene to substitute Mr. Abdul Malik Muhammad as Class Representative and

withdraw Lester Dobbey as Class Representative.

       WHEREFORE, Plaintiffs respectfully move this Court for an order pursuant to Federal

Rule of Civil Procedure 24(b) granting their motion to intervene to substitute Mr. Abdul Malik

Muhammad as Class Representative and withdraw Lester Dobbey as Class Representative.




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                                         RESPECTFULLY SUBMITTED,


                                         CLASS MEMBERS



                                         /s/ Heather Lewis Donnell
                                         Attorneys for Plaintiff

Dated: September 21, 2020

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                                  Certificate of Service

        I hereby certify that on September 21, 2020, I electronically filed the foregoing
Unopposed Motion to Intervene and Substitute Mr. Abdul Malik Muhammad as Class
Representative with the Court Clerk using the Court’s CM/ECF system which will send
notice to counsel of record.




                                                    /s/ Heather Lewis Donnell




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